   BER L 003840-21   10/08/2021    Pg 1 of 3 Trans ID: LCV20212354231
Case 2:21-cv-18714 Document 1-3 Filed 10/15/21 Page 1 of 3 PageID: 479
   BER L 003840-21   10/08/2021    Pg 2 of 3 Trans ID: LCV20212354231
Case 2:21-cv-18714 Document 1-3 Filed 10/15/21 Page 2 of 3 PageID: 480
   BER L 003840-21   10/08/2021    Pg 3 of 3 Trans ID: LCV20212354231
Case 2:21-cv-18714 Document 1-3 Filed 10/15/21 Page 3 of 3 PageID: 481
